 

Case 1:21-cv-11178-LTS Document1 Filed 07/20/21 Page 1 of 3

 

Nites $< hates Tstpick Galt

iris of VUasssaChuseft§
CASE No,

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

— kt : COmMPlawt oc A cwil Caso- -
: hte Tathes +0 Flis Cm? bint i
| Ae the Plintfes ge
Wave Miche} A Gsielluce
| Bares 206 AS hr

 

 

 

 

Cis] ana Comnry) Mew Beclfelde Bcisio

Stale find ziRde MbssaclyselS,0QZ4O

| telehonlo. Man NPxducte Wpmcceaho
EMall Address _ |

   
 
 

 

 

| Be The Desendents)
NeD NM, Ave |yitham

 

Legejiden4tf

 

  

JoF_
Streal Nadress | Shroeder VloZa,

 

 

Ci} Rack County Espo Se

Stale And Z Peele 2 cal acpapecearact
felehome_ MuRe— = e = —

 

 

CMoy) PMARSS OsSsS—Ss

 
Case 1:21-cv-11178-LTS Document1 Filed 07/20/21 Page 2 of 3

 

 

i joiwiree — co lawns

JRE uote M\Chac\ t Gdelluca,, 226 ASh oh

  

. “New Bodkol C A, Ms, C274

 

Dearden Ks Bost % Lica. CoMMSionem _
will Sales Lilo Shoe oer Flezn, nal pss

 

 

patent Speco Y
Ici Well

 

 

 

 

 

| Quang, BSH, MASS, 2 : Yo \_
BE Aus, Gover NMent AS A acty
Facts

)

 

    

 

on Dall Q4th hy Roy | while Walking Dawn Hon

_ Streak Besion iia. Bogan Parsing Me, Nem
- 2 Minutes.
lofhces tackled _ Nes ASSaul\eA,

ZB UnkNown +o Tok oT Ts

OCA ea ky
hee Me with pRotod Muka Ale e.

WES ViscreoslY Assaulted, CEN. Arch
Punched | IN Viclaxtow _ of MEL GSE IBN
AL WS BSSAu\\ed. With A NeaQan Hows

AS A Bator -/N Violakton Dé MOL ICSSE fy
My_C hues were Violated 14th Bement ent —

 

 

fd

|

 

MA luna) | Kes | Wert Vi0 lade dr AMMEN Mend

(FH eal 5 Modue Pease

 

Men} Was V olateABy (eFAS 195 Modue Pos

 

 

co WAS Foc!) PGE And Sugiebled 4 Cruel
And Usual PuaishMent jw Violation of Shs bumud

 

) Polqe Violated their Frokessina\ Gece af Qnduct.

 

36

)£ Woes tensed +h Boston Nedical Caner
BY CWS Md, Sudtered IN MGC Soar
the OFFiacs /NVo[ ved ely ON OM fecshage IS

 
Case 1:21-cv-11178-LTS Document 1 Filed 07/20/21 Page 3 of 3

PAS Coin) vt

 

 

 

 
 

BG lowe Be. Ie Plawhe Demands
OMecs NgounSy the cefencants of,

_— ‘AMMoant ro Kye Arete ete
a _dollacs And ZO Cenrs And | Sn ae
ths s Coutk ees S Jase Se re are

BB Te Pas Devos A Mal By Ick

 

 

 

 

 

 

— | = Wis , I . Stree) Oren)
—Mchaal L CaStellucaN

oe | __ 2926 PSh SF

| NeW Bedford Ma a27Yo

 

 

 

 

 

 

 

 

 

 

 

 
